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          14

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          16                                   UNITED STATES DISTRICT COURT

          17                                NORTHERN DISTRICT OF CALIFORNIA

          18                                       SAN FRANCISCO DIVISION

          19

          20     JOHN DOE, on behalf of himself and all others   Case No. 3:22-cv-3580-WHO
                 similarly situated,
          21                                                     NOTICE OF APPEARANCE OF COUNSEL FOR
                                      Plaintiff,                 DEFENDANT META PLATFORMS, INC.
          22
                        v.
          23                                                     Action Filed: June 17, 2022
                 META PLATFORMS, INC.
          24
                                      Defendant.
          25                                                     Trial Date: None Set

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Gibson, Dunn &
Crutcher LLP
                             NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT META PLATFORMS, INC.
                                                   CASE NO. 3:22-CV-3580-WHO
          Case 3:22-cv-03580-WHO Document 155 Filed 12/20/22 Page 2 of 2


1    TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
2           PLEASE TAKE NOTICE that Andrew M. Kasabian of Gibson, Dunn & Crutcher LLP, a
3    member of the State Bar of California (SBN 313210) and admitted to practice in this Court, hereby
4    appears on behalf of Defendant Meta Platforms, Inc. in this action, and is authorized to receive service
5    of all pleadings, notices, orders, and other papers regarding this action on its behalf. His address,
6    telephone, facsimile, and email are as follows:
7                   Andrew M. Kasabian
8                   GIBSON, DUNN & CRUTCHER LLP
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9                   Los Angeles, CA 90071 USA
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12
     Dated: December 20, 2022                     GIBSON, DUNN & CRUTCHER LLP
13
                                                  By: /s/ Andrew M. Kasabian
14                                                    Andrew M. Kasabian
15
                                                        Attorneys for Meta Platforms, Inc.
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                NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT META PLATFORMS, INC.
                                      CASE NO. 3:22-CV-3580-WHO
